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14                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
15

16   IN RE: ROUNDUP PRODUCTS                      ) MDL No. 2741
     LIABILITY LITIGATION                         ) Case No. 3:16-md-02741-VC
17                                                )
                                                  ) MONSANTO COMPANY’S
18    Hardeman v. Monsanto Co., et al.,           ) OPPOSITION TO PLAINTIFFS
      3:16-cv-0525-VC                             ) MOTION IN LIMINE NO. 7 TO
19    Stevick v. Monsanto Co., et al.,            )
      3:16-cv-2341-VC                             ) EXCLUDE EVIDENCE AND
20    Gebeyehou v. Monsanto Co., et al.,          ) ARGUMENT REGARDING
      3:16-cv-5813-VC                             ) UNRELATED MEDICAL HISTORY
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28       MONSANTO’S OPPOSITION TO PLAINTIFFS MOTION IN LIMINE NO. 7 TO EXCLUDE EVIDENCE AND
                          ARGUMENT REGARDING UNRELATED MEDICAL HISTORY
                     3:16-md-02741-VC & 3:16-cv-0525-VC, 3:16-cv-2341-VC, 3:16-cv-5813-VC
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 1                          MEMORANDUM OF POINTS AND AUTHORITIES
 2            Plaintiff Edwin Hardeman’s argument is based on the misplaced notion that his medical
 3   history of basal cell carcinoma is not relevant to this case.1    However, Plaintiff’s experts conclude
 4   that Roundup was the substantial contributing factor to Mr. Hardeman’s NHL and purport to rule out
 5   other possible causes. Monsanto is entitled to cross examine each expert on how, or if, they excluded
 6   other known causes of NHL that are part of Mr. Hardeman’s medical history, including his prior
 7   basal cell carcinoma. Moreover, Plaintiff cannot rely on the physician-patient privilege because he
 8   has put his medical history at issue in the case.
 9            All three of Plaintiff’s case specific experts rely on McDuffie et al (2001)2 for the proposition
10   that NHL was statistically significantly increased among glyphosate exposed individuals more than
11   two days per year with an OR of 2.12 (95% CI: 1.20-3.73), yet ignore other relevant information
12   reported in the article. See e.g., Ex. 1, Shustov Hardeman Rpt. at 8; Ex. 2 Nabhan Rpt. at 6; Ex. 3
13   Weisenburger Rpt. at 4.       For example, this article reports that a personal history of cancer is
14   associated with a statistically significant elevated risk of NHL with an OR of 2.43 (95% CI: 1.71-
15   3.44). If Plaintiff’s experts are going to rely on McDuffie et al (2001) to argue that Roundup was a
16   substantial contributing factor in causing Mr. Hardeman’s NHL, Monsanto should be permitted to
17   properly cross examine those experts on other risk factors detailed in this study, which necessitates
18   referencing Mr. Hardeman’s past basal cell carcinoma. See Rheinfrank v. Abbott Labs., Inc., No.
19   1:13-CV-144, 2015 WL 5258858, at *11 (S.D. Ohio Sept. 10, 2015) (denying motion to preclude
20   evidence where plaintiff argued that no expert has attributed that evidence to the injuries at issue,
21   because “such evidence would be relevant on cross-examination of an expert witness as
22   possible/alternative causes.”).
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         Monsanto is not challenging Plaintiff’s motion as it pertains to Glaucoma, atopic eczema, and
25   sciatica and corresponding treatment.
     2
26      McDuffie HH, Pahwa P, McLaughlin JR, Spinelli JJ, Fincham S, et al. Non-Hodgkin's lymphoma
     and specific pesticide exposures in men: cross-Canada study of pesticides and health. Cancer
27   Epidemiol Biomarkers Prev. 2001 Nov;10(11):1155-63.

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                                     REGARDING UNRELATED MEDICAL HISTORY
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            Additionally, Plaintiff’s reliance on the physician-patient privilege is misplaced. As Plaintiff
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     readily admits, the privilege is waived when the particular medical condition is placed in issue by the
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     privilege holder. See Plaintiff’s MIL 7 at 2. As noted above, there is little doubt that Plaintiff’s
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     medical history of basal cell carcinoma (as with his history of melanoma in situ, which Plaintiff does
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     not argue should be excluded), is relevant to his NHL. Therefore, the physician-patient privilege
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     does not protect disclosure of these facts. Kubik v. Cent. Michigan Univ. Bd. of Trustees, No. 15-CV-
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     12055, 2016 WL 9631633, at *2 (E.D. Mich. Mar. 17, 2016) (a patient waives the psychotherapist-
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     patient privilege where they place her emotional state at issue in the case. “This rule ensures that a
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     party cannot use a privilege as both sword and shield, placing into evidence only those portions of
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     privileged materials which are beneficial, and using the privilege to hide away those portions which
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     would benefit the opposing parties.”)
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                                               CONCLUSION
12
             For the above stated reasons, the Court should deny Plaintiff’s Motion In Limine No. 7 with
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     respect to Mr. Hardeman’s medical history of basal cell carcinoma.
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     DATED: January 30, 2019
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                                                  Respectfully submitted,
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                                                  /s/ Brian L. Stekloff___________
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            Case 3:16-md-02741-VC Document 2600 Filed 01/30/19 Page 5 of 5


                                       CERTIFICATE OF SERVICE
 1
            I HEREBY CERTIFY that on this 23rd day of January 2019, a copy of the foregoing was
 2
     served via electronic mail to opposing counsel.
 3

 4
                                                        /s/ Brian L. Stekloff___________
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